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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA,

                     v.
                                                  Crim. No. 2:15-cr-00155
ROBERT MENENDEZ                                   Hon. William H. Walls

 and

SALOMON MELGEN,
                                  Defendants.


    DEFENDANTS’ MOTION TO DISMISS THE INDICTMENT DUE TO THE
  PROSECUTION PROVIDING FALSE TESTIMONY TO THE GRAND JURY AND
         COMPROMISING THE GRAND JURY’S INDEPENDENCE
                      (Motion to Dismiss No. 3)

Abbe David Lowell                               Kirk Ogrosky
Jenny R. Kramer                                 Murad Hussain
Christopher D. Man                              ARNOLD & PORTER LLP
Scott W. Coyle                                  555 12th Street, N.W.
CHADBOURNE & PARKE LLP                          Washington, DC 20004
1200 New Hampshire Avenue, N.W.                 (202) 942-5330
Washington, D.C. 20036
(202) 974-5600

Raymond M. Brown                                Matthew I. Menchel
GREENBAUM ROWE SMITH & DAVIS LLP                Michael C. Fasano
Metro Corporate Campus One                      KOBRE & KIM LLP
P.O. Box 5600                                   2 South Biscayne Boulevard, 35th Floor
Woodbridge, NJ 07095                            Miami, FL 33131
(732) 476-3280                                  (305) 967-6108

Stephen M. Ryan
Thomas J. Tynan
MCDERMOTT WILL & EMERY LLP
500 North Capitol Street, N.W.
Washington, D.C. 20001
(202) 756-8000
Counsel for Defendant                           Counsel for Defendant
Senator Robert Menendez                         Dr. Salomon Melgen
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                                       INTRODUCTION

       Whether the grand jury provides the protections the Founders intended or not, it certainly

cannot serve as a check on the government’s power or promote the rights of individuals if the

grand jury process is abused. (See MTD No. 4 (describing role of the grand jury).) From the

discovery provided in this case, it appears the grand jury was prevented from playing any role

other than as a rubber stamp for prosecutors determined to bring the charges in this case.

       To protect the independence of the grand jury and its ability to make an informed

decision on questions of probable cause, both the courts and the U.S. Department of Justice

(“DOJ”) itself have placed limits on how evidence can be presented to the grand jury. The

prosecution has considerable leeway in presenting evidence to the grand jury, but its discretion is

not unfettered. Ordinarily and ideally, evidence comes to the grand jury through witnesses with

first-hand knowledge. As a matter of law, hearsay and the summary testimony of a case agent

are permitted, but the use of both kinds of evidence is disfavored by the courts.

       The prosecution of Defendants turns heavily upon a handful of meetings and telephone

calls that Senator Menendez had with members of the Executive Branch. The Senator had a

meeting with Secretary of Health and Human Services (“HHS”) Kathleen Sebelius, which was

attended by seven people. The Senator also met with and had a follow-up phone call with

Marilyn Tavenner, Acting Administrator of the Centers for Medicare & Medicaid Services

(“CMS”) within HHS. There were at least four witnesses to those communications. Rather than

call those witnesses to the grand jury, however, the prosecution had them interviewed by the FBI

and then had a case agent testify as to what he, or his colleagues, said they learned from those

individuals.




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       Not only was this an excessive (and, therefore, disallowed) use of hearsay through a case

agent, but its use was made far worse by the way the testimony was elicited from the case agent.

It was not as if, instead of calling the actual witnesses, the prosecution had the case agent recite

what a witness had said. Instead, it was the prosecutor who really did the testifying, making long

summaries of what the prosecutor claimed the case agent had learned (not surprisingly in a

leading fashion that conformed to the prosecution’s theory of the case) and then asking the case

agent to confirm that was true. The actual testimony from the case agent-witness was typically

just a one word answer of “yes” to confirm what was in essence the prosecutor’s testimony.

Were this technique not problem enough, a comparison of what the prosecutor said, the agent’s

affirmation and the actual interview of the witnesses indicates that the government provided a

rendition of the interviews that was not accurate, meaning the grand jury was given incorrect

testimony under oath. The attached Appendix (Ex. A) collects some of the notable examples

discussed in this Motion concerning how the agent’s testimony contradicts the government’s

own records of witness interviews. Based on this improper conduct inside the grand jury, the

Court must dismiss the Indictment.

                                          ARGUMENT

I.     THE PROSECUTION’S PRESENTATION OF EVIDENCE TO THE GRAND
       JURY IS SUBJECT TO LIMITS

       While the prosecution has wide latitude in how it presents evidence to the grand jury,

there are limits to what it can do. “A prosecutor should of course inform a grand jury of any

substantial evidence of which the prosecutor is aware that negates an accused’s guilt, and should

respond candidly to a grand jury’s inquiries.” United States v. Bari, 750 F.2d 1169, 1176 (2d

Cir. 1984) (internal citation omitted). “Courts have also held that a prosecutor may not make

statements or argue in a manner calculated to inflame the grand jury unfairly against an


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accused.” United States v. Hogan, 712 F.2d 757, 759 (2d Cir. 1983) (citing United States v.

Serubo, 604 F.2d 807, 1818 (3d Cir. 1979)).            Dismissal may be warranted “where the

prosecutor’s conduct amounts to a knowing or reckless misleading of the grand jury as to an

essential fact.” Id. (affirming dismissal of indictment for soliciting false testimony).1

       While it is true that the prosecution can introduce hearsay to the grand jury, “extensive

reliance on hearsay testimony is disfavored.” Hogan, 712 F.2d at 761.

       More particularly, the government prosecutor, in presenting hearsay evidence to
       the grand jury, must not deceive the jurors as to the quality of the testimony they
       hear. Heavy reliance on secondary evidence is disfavored precisely because it is
       not first-rate proof. It should not be used without cogent reason, and never passed
       off to the grand jurors as quality proof when it is not.
Id. “[E]xcessive use of hearsay evidence in a grand jury proceeding may violate the defendant’s

Fifth Amendment rights. . . . The grand jury may not become a ‘rubber stamp endorsing the

1
        “Although deliberate introduction of perjured testimony is perhaps the most flagrant
example of misconduct, other prosecutorial behavior, even if unintentional, can also cause
improper influence and usurpation of the grand jury’s role.” United States v. Samango, 607 F.2d
877, 882 (9th Cir. 1979); see Hogan, 712 F.2d at 759 (“In fact the gain in prosecutors’ influence
over grand juries is all the more reason to insist that these limitations be observed strictly.”);
United States v. Udziela, 671 F.2d 995, 998 (7th Cir. 1982) (“[I]n cases where over-zealous
prosecutors have manipulated a grand jury by willfully misleading it or knowingly presenting
false evidence, courts have not hesitated to exercise their power to dismiss indictments.”); see
also Serubo, 604 F.2d at 817 (“[T]he costs of continued unchecked prosecutorial misconduct are
also substantial. This is particularly so before the grand jury, where the prosecutor operates
without the check of a judge or a trained legal adversary, and virtually immune from public
scrutiny. The prosecutor’s abuse of his special relationship to the grand jury poses an enormous
risk to defendants as well. For while in theory a trial provides the defendant with a full
opportunity to contest and disprove the charges against him, in practice, the handing up of an
indictment will often have a devastating personal and professional impact that a later dismissal or
acquittal can never undo. Where the potential for abuse is so great, and the consequences of a
mistaken indictment so serious, the ethical responsibilities of the prosecutor, and the obligation
of the judiciary to protect against even the appearance of unfairness, are correspondingly
heightened.”); United States v. Basurta, 497 F.2d 781, 785 (9th Cir. 1974) (“Today, the grand
jury relies upon the prosecutor to initiate and prepare criminal cases and investigate which come
before it. The prosecutor is present while the grand jury hears testimony; he calls and questions
the witnesses and draws the indictment. With that great power and authority there is a
correlative duty, and that is not to permit a person to stand trial when he knows that perjury
permeates the indictment.”).


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wishes of a prosecutor as a result of the needless presentation of hearsay testimony in grand jury

proceedings.’” United States v. Flomenhoft, 714 F.2d 708, 712 (7th Cir. 1983) (quoting United

States v. Gallo, 394 F. Supp. 310, 314 (D. Conn. 1975)). The permissible use of hearsay requires

“that the prosecutor does not deceive grand jurors as to ‘the shoddy merchandise they are getting

so that they can seeks something better if they wish.’” United States v. Estepa, 471 F.2d 1132,

1137 (2d Cir. 1972 (Friendly, J.) (internal citation omitted). The prosecutor has an “affirmative

duty . . . to enlighten the grand jurors as to the hearsay quality of the evidence they were

receiving.” Gallo, 394 F. Supp. at 315. To avoid misleading the grand jury, prosecutors should

inform the grand jury that it has “a right to demand live witnesses.” Bari, 750 F.2d at 1177.

       Although DOJ disagrees with the Estepa rule, it counsels its prosecutors to avoid running

afoul of it. DOJ’s own guidance directs its attorneys to

       avoid application of the Estepa rule by informing the grand jury of the hearsay
       nature of the testimony it is hearing and by offering to present eyewitness
       testimony if necessary. Further, when transcripts from a prior grand jury are
       presented to a new grand jury, the grand jurors should be advised of the hearsay
       nature of the transcripts and should be given the opportunity to recall any
       witnesses.

DOJ, Grand Jury Manual IV-13 (Nov. 1991); see id. IV-20 (“For example, in those jurisdictions

that follow Estepa, the attorney should explain the hearsay nature of the prior transcript and

should advise that live witnesses will be called if desired.”); id. IV-104 (“For example, in those

jurisdictions that follow Estepa, the grand jurors should be informed whenever they are receiving

hearsay evidence and should be instructed that they have the right to hear live witnesses.”);2

DOJ, U.S. Attorneys Manual 9-11.232 (May 2012) (“Each United States Attorney should be




2
       The Third Circuit follows Estepa. United States v. Wander, 601 F.2d 1251, 1260 (3d Cir.
1979), see United States v. Ismali, 828 F.2d 153, 164 (3d Cir. 1987).


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assured that hearsay evidence presented to the grand jury will be presented on its merits so that

the jurors are not misled into believing that the witness is giving his or her personal account.”).

       Similarly, although DOJ does not believe it is constitutionally required to do so,

       It is the policy of the Department of Justice, however, that when a prosecutor
       conducting a grand jury inquiry is personally aware of substantial evidence that
       directly negates the guilt of a subject of the investigation, the prosecutor must
       present or otherwise disclose such evidence to the grand jury before seeking an
       indictment against such a person.

U.S. Attorneys Manual 9-11.233.

       Even though DOJ maintains that dismissal is not required where evidence is presented to

a grand jury in violation of the Constitution, including the Speech or Debate Clause,

       [n]onetheless, the Department has established a more exacting standard for its
       attorneys as follows: “A prosecutor should not present to the grand jury for use
       against a person whose constitutional rights clearly have been violated evidence
       which the prosecutor personally knows was obtained as a direct result of the
       constitutional violation.”

Grand Jury Manual IV-34 (quoting DOJ, U.S. Attorneys Manual 9-11.233).

       A defendant’s right to an independent and informed grand jury is a substantial right and it

can only be protected by dismissing an improperly obtained indictment. “While the prejudice to

defendants is great, the court’s decision to dismiss the indictment is not prejudicial to the

government; it may now take the case to another grand jury and start with a clean slate.” United

States v. Breslin, 916 F. Supp. 438, 446 (E.D. Pa. 1996). As explained below, that right and

numerous limits on prosecutorial misconduct addressed above were violated in this case.

II.    THE PROSECUTION KNOWINGLY PRESENTED FALSE TESTIMONY TO
       THE GRAND JURY THROUGH ITS CASE AGENT

       The crux of the prosecution’s case against Defendants is its claim that there was a corrupt

agreement between Senator Menendez and Dr. Melgen, whereby Dr. Melgen allegedly gave

Senator Menendez things of value in exchange for the Senator’s advocacy on Dr. Melgen’s



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behalf before the Executive Branch. The prosecution has no direct evidence that there ever was

such an agreement (because it did not exist), or what was specifically agreed to in that purported

agreement. Rather, the prosecutors merely allege that Dr. Melgen gave gifts to his close friend

Senator Menendez, and they are hoping to show that Senator Menendez later advocated on Dr.

Melgen’s behalf. The prosecutors will then ask the jury to infer, in the absence of any direct

evidence whatsoever, that there must have been some quid pro quo linking these events together.

       Among the flaws in this theory is that several of the key meetings in which the

prosecution alleges Senator Menendez advocated to the Executive Branch on behalf of Dr.

Melgen had a purpose different from what was portrayed by the prosecutors. Senator Menendez

certainly learned of an issue involving the vagueness and potential inconsistencies in CMS’s

Medicare reimbursement policies as a result of Dr. Melgen’s billing dispute with CMS. But the

Senator’s meetings with Secretary Sebelius and Administrator Tavenner concerned clarifying the

policy as a general matter, and he did not ask either to intervene in Dr. Melgen’s particular case.

This is a distinction with a very important difference.

       In an effort to make those meetings appear to the grand jury to be about Dr. Melgen, the

prosecutors did not call the people who were present at those meetings to testify before the grand

jury. Instead, they asked a case agent, eager to say “yes,” to confirm that the prosecutors were

right. In addition, they also erroneously suggested to the jury that they could not call these

witnesses and hear the testimony for themselves. (Infra at 23-25.) And an analysis of the

interviews and testimony demonstrate that the inflated claims they made to the jury did not jibe

with what they knew to be true. And they did not just misspeak a little bit. In testifying about

what the agent learned of the Tavenner and Sebelius meetings from those who were there, the

agent provided a far different, and often contradictory, version of those events than what the FBI




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302s reveal the agent actually was told by those witnesses. This presentation of false and

inaccurate testimony requires the dismissal of the Indictment.

        A.     The Tavenner Meeting

        Prior to the June 7, 2012 meeting with Tavenner, Senator Menendez had a call with

Jonathan Blum at HHS on July 27, 2009. (Indict. ¶ 169.) Blum told the FBI that “MENENDEZ’

position was that the policy was wrong and unclear and that BLUM could not defend the policy.

BLUM could not recall whether anyone mentioned a specific doctor’s name.” (Blum 2/13/13

FBI 302 at 3.) The FBI agent’s field notes reflect that, at this point, Blum indicated he was “not

sure if [he] knew Melgen’s name.” (Id. at page 3 of attachment.) Although Blum understood

that Dr. Melgen’s case is what brought the issue to Senator Menendez’s attention, Blum did not

think Senator Menendez was asking him to intervene in Dr. Melgen’s case. (Id. at 4 (“BLUM

did not think MENENDEZ was asking BLUM to interfere with the due process of CMS’

procedure.”).) While the impact of the policy issue may have been felt by Dr. Melgen, Blum

told the FBI that Senator Menendez “talk[ed] about policy in general.” (Id. at page 5 of

attachment). Rather, Blum believed the Senator was asking him “to clarify the policy, to make

sure that this pattern of billing was permitted. MENENDEZ was focused on the policy.” (Id. at

4.)   Blum recognized that “[a] change or clarification of the policy to allow such billing

processes would impact MELGEN’s appeal,”3 but he did not believe the Senator was asking him

to interfere directly in Dr. Melgen’s case. (Id. at 4-5.)



3
        Dr. Melgen’s billing dispute with CMS was being appealed through an administrative
adjudicative process. Any clarification of the policy going forward would not directly impact
how the policy was applied previously to Dr. Melgen or any other doctor. Nevertheless, a
clarification of the policy may have been indirectly helpful to Dr. Melgen in his appeal, as an
acknowledgment that the prior policy was unclear or, as a matter of equity, he could argue that
he should not be punished for what he did under the old policy when the same conduct would


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       Elizabeth Engel at HHS had helped set up that call and she participated in it. She recalled

it as a policy call: “The issue dealt with the labelling of a particular drug or a dosing issue; how

many doses were there per unit of the drug.” (Engel 4/15/13 FBI 302 at 2.) She recalled

knowing that the matter concerned a doctor in South Florida, but she could not recall when she

learned that, and there is no indication from her statement or Blum’s that Dr. Melgen’s name

came up on the call. (Id.)

       Later, on June 7, 2012, Senator Menendez met with Tavenner. (Indict. ¶ 200.) Maria

Martino worked at CMS and she told the FBI that she initiated the meeting with Senator

Menendez to help facilitate Tavenner’s confirmation by the Senate. (Martino 2/13/13 FBI 302 at

2; see Barnard 8/13/14 Tr. at 53 (explaining the meeting was part of the “nomination process”).)

Blum prepared Tavenner for this meeting. (Blum 2/13/13 FBI 302 at 7.) Martino, Aryana

Khalid (another CMS staffer) and Michael Barnard, Senator Menendez’s policy advisor, also

attended this meeting.

       The problem here begins with the fact that, with the exception of Barnard, the

prosecution did not call any witness before the grand jury who was actually present at the



now be permitted under the new policy. Of course, even if CMS had changed the policy as
Senator Menendez had suggested going forward, that would not necessarily have meant that the
outcome of Dr. Melgen’s appeal under the prior policy would have been any different. There
was nothing HHS or CMS could do that would interfere with Dr. Melgen’s pending case. Given
that Dr. Melgen’s case is in a separate administrative proceeding, Blum explained “[t]he case
involving DR. SALOMON MELGEN is outside the purview of CMS.” (Blum 2/22/13 FBI 302
at 1.) Instead, the matter was before an Administrative Law Judge (“ALJ”) who “operates
independently from CMS. . . . CMS, by law, does not adjudicate claims.” (Id. at 2.) An appeal
from an ALJ would go to “the Medicare Appeals Council (MAC) – which is the highest level of
administrative appeal. . . . [T]he CMS Administrator does not have the authority to overrule a
MAC decision. If the provider loses its MAC appeal, its next step is District Court.” (Blum
3/7/13 FBI 302, attachment to Blum from OL of 8/2/12 at 2; see Tavenner 2/13/13 FBI 302 at 5
(noting the adjudicative process was independent and she was never asked to send any letters on
Dr. Melgen’s behalf).)



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meeting; not Tavenner, not Khalid and not Martino. Instead, the prosecution called the case

agent, Sheehy, and asked him what he learned from them. Prosecutor Koski leadingly asked:

“Did Marilyn Tavenner confirm that during this meeting, Dr. Melgen [sic] was advocating on

behalf of Dr. Melgen and his Medicare dispute?” (Sheehy 5/7/14 Tr. at 58.) Apparently, so

ready (or prepared) to agree with anything the prosecutor said, Agent Sheehy simply answered,

“Yes,” even though Mr. Koski had misspoken and claimed it was Dr. Melgen attending and

advocating for himself at this meeting, which he did not attend.4

       Given the centrality of Senator Menendez’s alleged official actions to the prosecution’s

theory of the case, it was important to the prosecution for the grand jury to hear that Tavenner

had said that, at this meeting, Senator Menendez “was advocating on behalf of Dr. Melgen.”

(Id.) They also knew that if the grand jury was going to hear those words, Mr. Koski and Agent

Sheehy would have to put those words into Tavenner’s mouth because she had not said them.

The testimony of those who were present also would confirm that this meeting was the sort of

policy discussion that is immunized by the Speech or Debate Clause. 5 These two reasons can


4
        Mr. Koski solicited almost identical testimony from Agent Sheehy stating that Senator
Menendez was “advocat[ing]” on behalf of Dr. Melgen to Blum in a telephone conversation,
despite evidence to the contrary that it was a policy discussion.

Q: And did one of your colleagues have an opportunity to interview Jonathan Blum?
A: Yes.
Q: And did Jonathan Blum confirm during the interview that the purpose of this call that Senator
   Menendez initiated, that his office initiated, was to advocate on behalf of Dr. Melgen?
A: Yes.
(Sheehy 5/7/14 Tr. at 57-58.)
5
       In addressing matters that are protected by the Speech or Debate Clause in this Motion,
Senator Menendez is not waiving the protections of the Clause at trial. (See, e.g., United States
v. Johnson, 383 U.S. 169 (1966); In re Grand Jury, 587 F.2d 589, 597-98 (3d Cir. 1978); see
also MTD Nos. 1-2 (Speech or Debate Clause).)



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explain why the prosecution did not call Tavenner or anyone else from HHS as a witness before

the grand jury.

       Rather than say that Senator Menendez was advocating on behalf of Dr. Melgen, the FBI

302 summarizing her interview claims that “TAVENNER did not recall MENENZEZ [sic]

specifically mentioning MELGEN’s name.” (Tavenner 2/13/13 FBI 302 at 3.) But as damaging

as that is for the prosecution’s claim that she said the meeting was about advocacy for Dr.

Melgen, the agent’s actual notes were even more definitive in stating the opposite. Tavenner

said they did “not specifically discuss Melgen,” and she at least twice noted that she could not

remember if his name even came up. (Id. attachment at 3-5.) Instead, Tavenner explained the

meeting was exactly what Blum and her staff had led her to expect. Tavenner told the FBI that

she and the Senator “debated policy.” (Tavenner 2/13/13 FBI 302 at 3.) Senator Menendez

argued that CMS was acting “inconsistently and its policy was not clear,” and he wanted her “to

change CMS’ policy.” (Id.) Advocating for a clearer policy where an individual or a number of

people might be affected, is different than what the prosecution led the agent to say – he was

“advocating on behalf of Dr. Melgen.”

       The prosecution also did not call the other HHS staff who were present (again perhaps

because the prosecution knew they would not testify that Tavenner said that Senator Menendez

was advocating on behalf of Dr. Melgen either). Khalid told the FBI the same thing as Tavenner.

(Khalid 2/13/13 FBI 302 at 1.) She explained that Senator Menendez was arguing that CMS’

guidance was “in conflict” and inconsistencies in the policy were discussed in detail. (Id. at 2.)

The FBI 302 states: “KHALID did not recall MENENDEZ bringing up the name of the person

who was effected [sic] by the policy.” (Id.) Likewise, Martino explained that she knew going

into the meeting that the Senator has a “policy issue and MENENDEZ thought the program




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instructions were confusing for doctors.” (Martino 2/13/13 FBI 302 at 2.) At the meeting, she

said Senator Menendez did argue CMS’ “manuals were confusing and it looked like CMS

changed the policy.” (Id.) She said she thought “MENENDEZ just wanted to understand the

policy and wanted clarification” – the sort of information gathering that is immunized by the

Speech or Debate Clause. (Id. at 2-3.)6 There is no mention in her FBI 302 of Dr. Melgen’s

name coming up at this meeting.

         The only other person at the meeting besides Senator Menendez was Barnard, who

repeatedly told the prosecutors that their theory of that meeting was dead wrong. After Mr.

Koski asked him about the Senator’s supposed advocacy for Dr. Melgen at that meeting, Barnard

testified: “Your characterization was that the meeting was called to discuss Dr. Melgen, when in

fact that was not the case.” (Barnard 8/13/14 Tr. at 55 (emphasis added).)7 Like every other

first-hand account, Barnard repeatedly said that Dr. Melgen’s name was never mentioned

because the meeting was about the overall policy and not his case. (Id. at 55-56.)



6
         These Speech or Debate Clause issues are thoroughly addressed in MTD No. 1 at 4-7.
7
         This was the second time Barnard told Mr. Koski he was wrong. Here was the first time:

Q: “Senator Menendez had meetings with Marilyn Tavenner, who at the time was the Acting
    Administrator of CMS, in order to advocate on behalf of Dr. Melgen --

A. No.

Q. -- in his $8.9 million Medicare dispute. Isn’t that right?

A. That is incorrect.”

(Barnard 8/13/14 Tr. at 53; see also id. at 58 (explaining that if Dr. Melgen’s counsel thought the
meeting would be to advocate on Dr. Melgen’s behalf, his assumption was wrong.) Later, Mr.
Koski again asked: “Mr. Barnard, what was the purpose of Senator Menendez’s June 2012
meeting with Marilyn Tavenner?,” and Barnard answered: “The consideration of her
nomination.” (Barnard 11/12/14 Tr. at 40; see id. at 45, 50 (same).)


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       The only mention of advocacy in the FBI 302 of Tavenner was in a context that was far

more abstract. After discussing the meeting with Senator Menendez, Tavenner was asked about

meetings with Members of Congress generally. She said she had been called to meet with a

Member more than a dozen times, sometimes the constituent is present, and sometimes she is

asked to help. (Tavenner 2/13/13 FBI 302 at 4.) She also explained that it is not uncommon for

a Member to advocate on behalf of a constituent. (Id.) The FBI 302 then makes a statement that

distorts what is recorded in the agent’s notes. The FBI 302 says: “TAVENNER thought that it

was unusual that MENENDEZ was advocating for someone who was not his (MENENDEZ’)

constituent.” (Id.) But the agent’s actual field notes reflect that Tavenner was still just speaking

generally, and not with respect to Senator Menendez in particular. (Id. attachment at 4.)

       The notes only address Tavenner’s generic statements about the ordinary process of

meeting with members of Congress.          The notes state “– not uncommon to advocate for

constituent – thought unusual that advocate for non-constituent.” (Id.) There is no mention of

Senator Menendez at all in this part of the discussion. Moreover, it is clear from the preceding

section of the agent’s notes that Tavenner certainly was not suggesting that Senator Menendez

was advocating on behalf of Dr. Melgen at their meeting. As noted above, the FBI 302 report

and the agent’s field notes reflect that Tavenner said Dr. Melgen’s situation was not discussed

and she was not even sure if his name was mentioned, so Tavenner did not regard the meeting as

about advocacy for Dr. Melgen.

       Consequently, Mr. Koski and Agent Sheehy knew (or should have known) there was no

basis for their claim to the grand jury that Tavenner said Senator Menendez was “advocating on

behalf of Dr. Melgen” at that meeting. (Sheehy 5/7/14 Tr. at 58.) Moreover, they certainly were

aware of considerable evidence – statements from everyone who was there – that no mention of




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Dr. Melgen was even made at that meeting. To avoid misleading the grand jury, that information

should not have been omitted from Agent Sheehy’s testimony. Moreover, DOJ’s own policy

required that such evidence be provided to the grand jury. U.S. Attorneys Manual 9-11.233.

       B.      The Tavenner Follow-Up Call

       On July 2, 2012, there was a follow-up call between Senator Menendez and Tavenner.

(Indict. ¶ 204.) Also present on that call were Martino and Barnard. Again, the prosecution did

not call Tavenner or Martino to address what was said at that meeting. Once again, Mr. Koski

had Agent Sheehy testify as to what he was told about that meeting. Mr. Koski asked Agent

Sheehy if there was a follow-up call “between [Tavenner] and Senator Menendez relating to this

Dr. Melgen Medicare issue?,” and Agent Sheehy again readily answered, “Yes.” (Sheehy 5/7/14

Tr. at 59.) To clarify that the call did not go well, Mr. Koski reverted to his practice of stating

the testimony he wanted and asking the case agent to confirm he was correct. Mr. Koski asked:

“Meaning specifically that Marilyn Tavenner confirmed that she told Senator Menendez that

there was nothing they could do, they were not going to change their policy, they weren’t going

to change their decision with respect to Dr. Melgen and his Medicare dispute?” (Id.) Agent

Sheehy answered: “Correct. And they wouldn’t allow the appeal process to go forward.” (Id.)

       Again, the testimony elicited by Mr. Koski and Agent Sheehy was not accurate. This call

was not “relating to this Dr. Melgen Medicare issue,” and Tavenner had not “confirmed that she

told Senator Menendez that there was nothing they could do, . . . they weren’t going to change

their decision with respect to Dr. Melgen and his Medicare dispute.” (Id.) There was no

discussion at all about “their decision with respect to Dr. Melgen,” or whether to “change” their

decision. And there was no discussion whatsoever of the “appeals process” at all, much less of

them not allowing it “to go forward.” (Id.)




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       The FBI 302 reports Tavenner said that it was a short call about policy, which lasted just

2 to 3 minutes. (Tavenner 2/13/13 FBI 302 at 4.) She told Senator Menendez that she “looked at

the policy regarding billing for vials used by multiple patients and the policy stood.” (Id.) This

discussion of policy, with no mention of Dr. Melgen, is what Tavenner had anticipated before the

call.8 Likewise, Martino told the FBI that she was on this call and Tavenner explained that for

policy reasons –“for infection control reasons, the single use vial policy would not and had not

changed. The call ended shortly thereafter.” (Martino 2/13/13 FBI 302 at 2.) Again, Martino

makes no mention of Dr. Melgen or any appeal of a decision concerning him. (See also Khalid

2/13/13/ FBI 302 at 3 (noting Blum relayed to her that in the follow-up call with Senator

Menendez, that Senator was told “CMS was not going to change its policy.”).)9 Consequently,

Tavenner had not said the meeting related to Dr. Melgen, or to any decision CMS had made

about him or any appeals process.

       Agent Sheehy’s comment that “they wouldn’t allow the appeal process to go forward”

appears to be completely made up. (Sheehy 5/7/14 Tr. at 59.) Not only is there no indication

that Dr. Melgen’s case or the appeal process was even discussed on this call, but Tavenner

certainly would not have said they would not allow the appeals process to go forward. Tavenner

told the FBI “[t]he appeals process is conducted by an Administrative Law Judge (ALJ), which is

an independent entity. The ALJ reports to HHS, not to CMS.” (Tavenner 2/13/13 at 5.) More

than a year before Agent Sheehy testified, Blum already had explained to the prosecution that the


8
        In setting up the call, Tavenner was advised “that the Senator would like to focus on the
Medicare reimbursement policy.” (Blum 3/17/13 FBI 302, attachment 6/29/12 Note to Tavenner
from Office of Legislation.) Her talking points in preparation for the meeting focused solely on
the policy, with no mention of Dr. Melgen directly or indirectly. (Id.)
9
        Barnard acknowledged being present on the call but refused to answer any questions
about it, citing the Speech or Debate Clause. (Barnard 8/13/14 Tr. at 56.)


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adjudicative side was independent, and neither HHS nor CMS could interfere with it. (Supra at

7-8 n.3.) There is no indication that the appeals process was not allowed to run its course or that

Tavenner or anyone else at HHS or CMS had tried to stop it. This was simply testimony made

up for the grand jury suggesting, without any basis, that Tavenner found Senator Menendez’s

purported advocacy for Dr. Melgen so outrageous that she halted Dr. Melgen’s appeal. 10

       C.      The Sebelius Meeting

       A meeting with Secretary Sebelius was held on August 2, 2012. (Indict. ¶215.)            In

attendance at the meeting with Secretary Sebelius were Senators Reid and Menendez, Jim

Esquea (HHS), Kate Leone (Reid), Blum (HHS) and Barnard (Menendez).                    Again, the

prosecutors did not call any of these witnesses before the grand jury, except Barnard.11 Once

again, the testimony about what occurred at this meeting would come through Mr. Koski saying

what happened and Agent Sheehy agreeing with him. At the meeting with Secretary Sebelius,

the case agent testified that “Senator Menendez made the arguments on behalf of Dr. Melgen,

similar arguments that had previously been made to Jonathan Blum and Marilyn Tavenner.”

(Sheehy 5/7/14 Tr. at 65.) When asked: “Was it also clear that the meeting was about Dr.

Melgen?,” the case agent answered: “Perfectly clear. . . . It was all about Dr. Melgen, the

meeting.” (Id. at 66 (emphasis added).)


10
        Mr. Koski knew the witness’ testimony about Tavenner halting the appeal process was
not true, but no effort was made to correct that testimony as he was required to do. As was noted
in another case brought by this prosecutor’s office, the prosecution has an obligation to correct
the record. Report of Special Counsel, In re Special Proceedings (Stevens), Misc. No. 09-0198,
Dkt. 84 at 19 (D.D.C. filed Mar. 13, 2012) (“[The prosecutor] knew the testimony was false and
knew that he had an obligation under the Supreme Court’s decision in Napue v. Illinois, 360 U.S.
264 (1959) to correct that testimony there and then, but he did not.”).
11
        Barnard testified that he attended the meeting, but he refused to answer questions about it
based on the Speech or Debate Clause. (Barnard 11/12/14 Tr. at 56, 60-61.) Leone apparently
has not been interviewed by the FBI.


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       Later, Agent Sheehy gave similar testimony to the grand jury. Prosecutor Monique

Abrishami asked him: “[D]id your investigation reveal that Senator Menendez met with HHS

Secretary Sebelius and Senator Reid about Dr. Melgen’s Medicare billing dispute?,” and Agent

Sheehy on cue answered succinctly, “Yes.” (Sheehy 4/1/15 Tr. at 23 (emphasis added).) Ms.

Abrishami followed up by asking: “And did your investigation reveal that during that meeting

Senator Menendez advocated on behalf of Dr. Melgen’s position in his Medicare billing dispute

focusing on Dr. Melgen’s specific case and asserting that Dr. Melgen was being treated

unfairly?,” and Agent Sheehy again answered succinctly, “Yes.” (Id. (emphasis added).)

       Again, the testimony the prosecutors elicited from Agent Sheehy was not true. Agent

Sheehy’s statement that Senator Menendez made arguments on behalf of Dr. Melgen that were

similar to the arguments he previously raised with Blum and Tavenner simply compounded his

prior erroneous testimony because, as noted above, there were no prior arguments on behalf of

Dr. Melgen to Blum or Tavenner. The arguments before, and the arguments here, were about

policy. And the prosecution knew that from multiple sources. It was not “[p]erfectly clear” that

the meeting “was all about Dr. Melgen.” (Sheehy 5/7/14 Tr. at 66.) If the prosecution was going

to have its case agent say what witnesses had told him, it should have had him read their actual

statements into the record.

       Agent Sheehy testified that he understood the conversation was essentially a debate

between Senator Menendez and Blum, in which they did most of the talking. (Sheehy 5/7/14 Tr.

at 65; see id. at 66 (“Senator Menendez was doing most of the talking”); Blum 2/13/13 FBI 302

at 6 (“MENENDEZ and BLUM did most of the talking during the meeting.”); Reid 4/28/13 FBI

302 at 3 (same).) In sharp contrast to Agent Sheehy’s testimony that it was “[p]erfectly clear”

that the meeting “was all about Dr. Melgen,” Blum told the FBI that the “focus of the




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conversation was on the policy, which REID and MENENDEZ said was vague. MENENDEZ

and REID said that they (MENENDEZ and REID) were not there to talk about a particular case;

they were there to talk about policy.” (Blum 2/13/13 FBI 302 at 5 (emphasis added).) 12 While

Blum believed that Dr. Melgen’s situation is what brought the issue to Senator Menendez’s

attention, “BLUM did not recall MELGEN being mentioned by name at the meeting.” (Id. at 6;

see Blum 5/16/13 FBI 302 at 1 (again relaying that Senator Menendez raised at that meeting

whether “CMS policy regarding Lucentis was inconsistent with how CMS handled” other

matters; no mention of Dr. Melgen).) He explained, “MENENDEZ and REID advocated a

change to CMS’ policy to allow the pattern of billing” (and, of course, such a change in policy is

forward-looking). (Blum 2/13/13 FBI 302 at 5.) Blum also told the FBI that Senator Menendez

indicated he would use his role on the Finance Committee to stay on top of the issue, and led him

to expect that Blum “would have to answer questions about this policy” the next time he testified

at a hearing before the Committee. (Id. at 6.) The prosecution may have sought to recast this

conversation to be something other than what it actually was – a discussion about policy – to

avoid running head on into the bar of the Speech or Debate Clause. (See MTD No. 1 at 8-12.)

       Sebelius explained that she did not do much to prepare for the meeting, as Blum “would

be able to discuss the Medicare issues.” (Sebelius 4/15/13 FBI 302 at 3.) Like Blum, Sebelius

“could not recall whether MELGEN’s name specifically came up during the meeting.” She said

they did focus on one example where they felt a “doctor was a victim of rule changes,” which


12
        Prior to the meeting, Blum received a memo from the Office of Legislation advising him
of the subject of the meeting: “The issue is with Medicare payment of single-use vials of
injectable prescription medicines and whether Medicare has ever allowed multiple billings when
a drug in a single-use vial is used multiple times.” (Blum 3/7/13 FBI 302, attachment to Blum
from OL of 8/2/12 at 1.) The memo did note that Senator Menendez has raised “the case of a
Florida physician,” but the memo addressed the merits of the policy of multi-dosing. (Id.)



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they viewed as “unfair treatment,” but they “spoke more broadly about how it was unfair to

healthcare providers.” (Id.) In other words, and in contrast to Agent Sheehy’s mischaracterizing

testimony, it was not “[p]erfectly clear” that the meeting “was all about Dr. Melgen;” it was

“more broadly about . . . healthcare providers.” (Compare Sheehy 5/7/14 Tr. at 66, with Sebelius

4/15/13 FBI 302 at 3.) Sebelius said she “could not recall what MENENDEZ specifically

wanted.” (Sebelius 4/15/13 FBI 302 at5.) With respect to the specific example he had given, she

did note that the dispute was in the “appeals process” and, due to its independence, “there was

nothing SEBELIUS could have done, even if she (SEBELIUS) wished to intervene.” (Id. at 4.)

(Nobody claims that Senator Menendez asked Sebelius to intervene in Dr. Melgen’s case either.)

       Senator Reid told the FBI that his role was chiefly to set the meeting, and it was mostly

Senator Menendez and Blum who spoke. (Reid 4/28/14 FBI 302 at 3 (“REID and SEBELIUS

spoke very little during the course of the meeting.”).) “REID believed that MENENDEZ was

making good points” on matters of policy, as we should not “throw away excess medicine.” (Id.)

No one in attendance actually recalled Dr. Melgen’s name coming up, and Senator Reid made

clear to the FBI that the discussion centered on clarifying the policy. (Id.)

       Esquea also testified that the meeting was about policy: “MENENDEZ was focused on

the policy and how the policy was applied. MENENDEZ said that there was confusion because

CMS changed its policy. . . [and] anyone would find the rules confusing. ESQUEA did not

recall whether MENENDEZ specifically mentioned MELGEN’s name.” (Esquea 4/15/13 FBI

302 at 5.) While Esquea disagreed with Senator Menendez, he believed “MENENDEZ thought

that he (MENENDEZ) was making real policy points.” (Id. at 6.)

       While HHS and CMS disagreed with Senator Menendez on what the policy should be,

they did accept his argument that there was a need for the policy to be clarified. As Blum told




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the FBI: “CMS has further clarified [its] policy (regarding vial splitting) in part because of this

case and because of others that were similar.” (Blum 2/22/13 FBI 302 at 1; see Blum 3/7/13 FBI

302, attachment to Blum from OL of 8/2/12 at 3 (explaining “CMS clarified the policy”).) The

fact that CMS clarified the policy demonstrates that Senator Menendez’s had raised a legitimate

policy issue, and the Senator’s oversight activities (protected by the Speech or Debate Clause)

were effective, at least in providing greater clarity going forward.

       The prosecutors and Agent Sheehy had to know that it was not “[p]erfectly clear” that the

meeting “was all about Dr. Melgen,” when that testimony was elicited. (Sheehy 5/7/14 Tr. at

66.) They also did not call as witnesses anyone who Agent Sheehy claimed provided the

foundation for this testimony (it now being clear these witnesses did not say what the agent

recounted). In addition, at a time the issue had been raised with the government, the prosecutors

realized those witnesses would likely provide testimony about a policy dispute that would

confirm the meeting was immunized by the Speech or Debate Clause. Many of the witnesses

told the FBI explicitly that the meeting was about more than any individual case, and was about

the policy more generally. That should have been disclosed. U.S. Attorneys Manual 9-11.233.

By omitting those statements from his testimony, and instead relaying it was “[p]erfectly clear”

that it “was all about Dr. Melgen,” Agent Sheehy’s testimony overreached and was not true. It is

not difficult to imagine what the prosecution would have done if one of Senator Menendez’s

staffers had provided the grand jury with such made-up testimony.13



13
       Agent Sheehy also provided testimony that was incomplete and potentially misleading to
the grand jury regarding a meeting Dr. Melgen had with Senators Harkin and Menendez. Agent
Sheehy testified that at the meeting “Dr. Melgen explained his problems with CMS,” and argued
that CMS’s policy against multi-dosing was wasteful. (Sheehy 5/7/14 Tr. at 48-49.) Agent
Sheehy told the grand jury that Senator Harkin had a staff member reach out to CMS to get more
information, but “his office did not advocate on behalf of Dr. Melgen.” (Id. at 49.) Agent


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       The Indictment must be dismissed. See, e.g., Hogan, 712 F.2d at 761-62 (ordering

dismissal of indictment for “the DEA agent’s false testimony to the grand jury,” even if “the

factual misstatements in the agent’s testimony may have been inadvertent”); Samango, 607 F.2d

at 882 (dismissing indictment); Basurto, 497 F.2d at 785-787 (same); Gallo, 394 F. Supp. at 315

(same); see also United States v. Akel, 337 F. App’x. 843, 858 (11th Cir. 2009) (noting

government’s knowing use of false testimony or failure to correct such testimony upon learning

of it warrants dismissal).

III.   THE PROSECUTION OVERRELIED ON ITS CASE AGENT AND HEARSAY

       The heart of this case is the prosecution’s claim that Dr. Melgen gave things of value to

Senator Menendez in exchange for the Senator advocating on Dr. Melgen’s behalf before the

Executive Branch, but the prosecution never called even a single member of the Executive

Branch to testify before the grand jury. Even though there were numerous witnesses to Senator

Menendez’s communications with the Executive Branch, including those with Sebelius and

Tavenner, the prosecution did not call any witnesses to those meetings to testify except those

who were on Senator Menendez’s staff. Even then, their testimony was limited about these

meetings because they invoked their constitutional privilege not to testify based on the Speech or

Debate Clause. Consequently, the only meaningful testimony the grand jury heard about these

communications was hearsay that came in through a case agent, who had no first-hand




Sheehy explained that Senator Harkin’s staffer, Nick Bath, looked into these policy issues and
concluded that CMS was right and Dr. Melgen was wrong. (Id. at 49-52.) Agent Sheehy’s
testimony may have misled the jury into believing that Senator Harkin had refused a request
from Dr. Melgen to assist him. Although Agent Sheehy’s interview notes with Senator Harkin
reflect that “HARKIN does not recall MELGEN ever specifically asking him to do anything and
HARKIN never did do anything on MELGEN’s behalf,” that information was not shared with
the grand jury. (Harkin 5/1/14 FBI 302 at 2.)


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knowledge, and who for the most part was simply agreeing with prosecutors who were really the

ones testifying through their leading questions.

       If any meaningful limits do exist on what the prosecution can do before the grand jury –

and the case law and DOJ’s own guidance confirm that such limits do exist – then those limits

certainly were crossed here. The prosecution’s use of a single case agent witness to recount

these conversations, when the prosecution could have called any number of witnesses who were

present for those discussions and who the case agent had interviewed, is improper. In similar

circumstances, the Second Circuit explained:

       As we see it, there is a great deal to criticize in the government’s handling of this
       grand jury proceeding. The single-witness policy routinely relies on hearsay,
       producing “evidence which appears smooth, well integrated and consistent,”
       making even weak cases appear strong. It also “prevents the defendant from
       utilizing grand jury testimony in cross-examining witnesses who will testify at
       trial.”
United States v. Brito, 907 F.2d 392, 395 (2d Cir. 1990) (quoting United States v. Arcuri, 282 F.

Supp. 347, 349 (E.D.N.Y. 1968) (Weinstein, J.). The Second Circuit also has emphasized

       excessive use of hearsay in the presentation of government cases to grand juries
       tends to destroy the historical function of grand juries in assessing the likelihood
       of prosecutorial success and tends to destroy the protection from unwarranted
       prosecutions that grand juries are supposed to afford to the innocent. Hearsay
       evidence should only be used when direct testimony is unavailable or when it is
       demonstrably inconvenient to summon witnesses able to testify to facts from
       personal knowledge.
United States v. Umans, 368 F.2d 725, 730 (2d Cir. 1966); see Estepa, 471 F.2d at 1135 (Judge

Friendly condemning the “casual attitude with respect to the presentation of evidence to a grand

jury” through the reliance of a case agent, when better witnesses were available.)

       That is certainly what happened here. At the Sebelius meeting, for example, there were

seven people present, but they were not called as witnesses and there is no justifiable reason for

that. See, e.g., United States v. Felton, 755 F. Supp. 72, 75-76 (S.D.N.Y. 1991) (explaining the

court “repeatedly asked” prosecutors why they called only an agent who was not present to

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testify before the grand jury about the circumstances of an arrest, when the three arresting

officers were available, and expressing its “displeasure” with that practice and the concern it

raised that this “misled the grand jury”) Instead, a case agent testified that he learned what

happened from interviewing several of those who were present. When asked: “Was it also clear

that the meeting was about Dr. Melgen?,” the case agent confirmed: “Perfectly clear. . . . It was

all about Dr. Melgen, the meeting.” (Sheehy 5/7/14 Tr. at 66 (emphasis added).) That certainly

“appears smooth well integrated and consistent” – even though nobody who was present at that

meeting would have answered the question as Agent Sheehy had, even in response to the

prosecutor’s leading question. As explained above, nobody who the FBI interviewed who

attended that meeting could even recall Dr. Melgen’s name coming up, and they all said the

meeting was about policy. (Supra at 16-18.) Had the prosecution called the people who were

actually there and asked them the same question, it is utterly implausible that the grand jury

would have been left with the same “perfectly clear” understanding of the meeting that the case

agent – with no first-hand knowledge, relying exclusively on hearsay and the prosecutor’s

leading questions – conveyed. While this would require the dismissal of the Indictment in its

own right because the issue is so central to the case, dismissal is all the more required because

the case agent’s testimony was “inaccurate.” United States v. Peralta, 763 F. Supp. 14, 21

(S.D.N.Y. 1991) (dismissing an indictment based on a case agent testifying in this manner,

emphasizing that dismissal was especially required because the agent’s testimony was

inaccurate) (emphasis in original). Compounding these errors further is the fact that it was really

the prosecutors themselves who were doing most of the testifying through their leading

questions, and that too is improper. See, e.g., Brito, 907 F.2d at 394 (complaining “the

prosecutor, herself was the ‘true’ witness because the agent’s testimony was presented through




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leading questions”); Samango, 607 F.2d at 883 (criticizing “testimony by the prosecutor in the

form of questions” to a grand jury witness); see also Hogan, 712 F.2d at 760 (criticizing a

prosecutor for “[m]aking himself an unsworn witness”).

       In addition, there is no indication that the prosecution gave the grand jury any warning

associated with the hearsay involved in the numerous read-backs of prior testimony or in the case

agent relaying what others had told him (or, even more attenuated, had told other FBI agents who

then told him) what was discussed at various meetings. Not only did the prosecution not caution

the grand jurors as to the “shoddy nature” of the materials they were getting, or inform them they

could subpoena live testimony, it does not appear there was any good reason not to call live

witnesses. Hogan, 712 F.2d at 761; Samango, 607 F.2d at 882 (affirming dismissal where “[t]he

prosecutor should have attempted to present live testimony”); Estepa, 471 F.2d at 1137.

IV.    THE GRAND JURY WAS ERRONEOUSLY LED TO BELIEVE IT COULD NOT
       CALL LIVE WITNESSES

       When the prosecution first called Agent Sheehy to the grand jury, it was for the purpose

of providing read-backs of prior testimony to a grand jury that the prosecutors first convened in

Florida. (Sheehy 2/26/14 Tr. at 2.) After the prior testimony of several witnesses was read back

to the grand jury and the grand jury was preparing for yet another read back, a grand juror asked:

“Can I ask you a question? Eventually are these people going to come here?” (Id.at 144.) Mr.

Koski succinctly answered in just one word – “No.” (Id.) The grand juror responded by asking:

“Never? Okay.” (Id.)

       The grand juror clearly was under the misimpression that it was the prosecutors, and not

the grand jury, who would decide whether live witnesses would be called before the grand jury.

That misimpression was then confirmed by the prosecutor’s answer, which was simply “No,”




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those witnesses would not be coming before the grand jury.14 The grand jury was left with the

impression that “[n]ever” was going to happen. The correct answer, and the one required by the

case law and DOJ’s own policy, would have been to tell the grand jury that they had the power to

subpoena those witnesses, so that they could hear live testimony and ask them their own

questions. The answer given by Mr. Koski is not only inconsistent with the case law, it is

inconsistent with DOJ’s own guidance that “grand jurors should be informed whenever they are

receiving hearsay evidence and should be instructed that they have the right to hear live

witnesses.” Grand Jury Manual IV-104.

       In United States v. Breslin, 916 F. Supp. 438 (E.D. Pa. 1996), the court dismissed an

indictment because “[t]he prosecutor improperly led the jury to believe that it was not entitled to



14
        Elsewhere, the prosecution misdirected the grand jury into believing that the prosecution
was in control of the grand jury, and that it did not have the independence to make inquiries on
their own. After testimony was elicited about Senator Menendez being involved in litigation and
contributions to his legal defense fund, a grand juror had questions about both. (Sheehy 5/7/14
Tr. at 72-74.) Agent Sheehy explained that the litigation involved Senator Menendez in his
capacity as a Senator, but refused to provide further explanation, stating “that is not part of . . . .
[t]he subject of that was not the subject of this.” (Id. at 73-74.) Of course, the grand jury can
decide for itself what it wants to investigate. Agent Sheehy’s response told the jury that the
prosecution will decide the scope of the grand jury’s investigation.
        Later, a grand juror asked Agent Sheehy, “were you aware if other practitioners, I guess
you would say other ophthalmologists who were engaging in this activity of multi-dosing and --”
but Agent Sheehy interrupted and began to answer by saying, “[a]ctually, we have --,” and Mr.
Koski stopped him. (Id. at 74.) Mr. Koski stated that he wanted to “clarify and narrow the scope
of the question,” although a prosecutor has no right to “narrow” the grand jury’s inquiry,
particularly of facts that may be helpful to an accused. (Id.) But Mr. Koski did not clarify or
narrow any question about whether other doctors were multi-dosing. Instead, he asked a series
of questions about there being a “separate investigation” of “Dr. Melgen for health care fraud,”
and Agent Sheehy confirmed he was not part of that investigation. (Id.) Not only did Mr.
Koski’s answer preclude the grand jury from going down a path of looking for potentially
exculpatory evidence, his answer again told the jury that the prosecution decides what this grand
jury would consider and what would be kept “separate.” The answer undermined the grand
jury’s independence, and reinforced the flawed notion that the grand jury was the agent of the
prosecutor; not the other way around. Moreover, Mr. Koski prejudiced Senator Menendez and
especially Dr. Melgen by injecting the notion of a different Medicare fraud case into this inquiry.


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request live witness testimony or that live witness testimony was unavailable.” Id. at 444. The

prosecutor there told the grand jury that witnesses did not testify live because the prosecutor read

them the testimony instead. Id. Mr. Koski telling the grand jury that “No,” those witnesses will

not be coming to testify even more clearly signaled that live testimony would “[n]ever” be

available. “The prosecutor should also have informed the jurors that [the witnesses were]

available for live testimony in the event they wished to evaluate the credibility [their] credibility

for themselves. . . .” Gallo, 394 F. Supp. at 315 (dismissing indictment).

       Moreover, the problem here is too pervasive to be dismissed as harmless. There were

extensive read-backs of prior testimony through the case agent. (Sheehy 2/26/14 Tr. at 3-8

(Ravido read-back); id. at 18-30 (Donovan read-back); id. at 30-55 (Butt read-back); id. at 55-78

(Nylund read-back); id. at 79-144 (Fernandez read-back); id. at 144-230 (Lopez-Leite read-

back); Sheehy 4/9/14 Tr. at 3-57 (Buchyk read-back); Sheehy 4/30/14 Tr. at 3-38 (Polanco read-

back); Sheehy 10/8/14 at 4-39 (Almeida read-back); Sheehy 3/11/15 Tr. at 68-91 (read-back of

Talbot testimony).) The case agent also gave extensive hearsay testimony as to what he learned

through interviews of others. ((Sheehy 4/9/14 Tr. at 59 (Buchyk); Sheehy 5/7/14 Tr. at 48

(Harkin); id. at 49 (Bath); id. at 54 (Sebelius); id. at 57 (Blum); id. at 58 (Tavenner).) If the

grand jury had known of its ability to call witnesses, like Sebelius and Tavenner, and others who

were present at key meetings, it may very well have done so, and it would have received a far

different understanding of the facts than the prosecution presented. Given that the prosecution

called numerous female acquaintances of Dr. Melgen so it could question them about every

irrelevant detail of their relationship with him, the prosecution can hardly complain the grand

jury did not have time to hear from first-hand witnesses to the events central to this case. By

compromising the independence of the grand jury and its basic fact-finding ability, the grand




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jury simply became a tool of the prosecution. Defendants’ right to an independent and informed

grand jury was violated, and the Indictment must be dismissed.

V.     AGENT SHEEHY INACCURATELY SUMMARIZED IMPORTANT LEGAL
       ISSUES FOR THE GRAND JURY

       During the grand jury proceeding, prosecutors presented the jurors with a lengthy

proposed charged instrument that includes over 88 paragraphs dealing with Dr. Melgen’s

practice of repackaging or multi-dosing Lucentis and his dispute with CMS. To explain the law

on the issue, prosecutors could have presented: (1) the United States Code, (2) Food and Drug

Administration (“FDA”) and CMS guidance, (3) decisions from U.S. Courts such as Hayes v.

Sebelius, 589 F.3d 1279 (D.C. Cir. 2009), or (4) witnesses from the HHS Office of General

Counsel or HHS Office of Inspector General. Instead, they elected to have Agent Sheehy

inaccurately summarize the law in his testimony. That testimony neglected to present any of the

four truthful and accurate sources of the law that were public information in the government’s

possession at the time of the testimony. As such, the prosecutors elected to present the grand

jurors with a legally incorrect and bias summary of legal issues.

       On May 7, 2014, Agent Sheehy testified before the grand jury related to Dr. Melgen’s

dispute with CMS over the billing of Lucentis. Mr. Koski asked Agent Sheehy the following:

       Q:      And are you aware of whether there are any FDA or CDC guidelines that
               either discourage or prohibit an ophthalmologist from using any of the
               overfill to treat multiple patients or from harvesting the excess amount of
               Lucentis in order to treat multiple patients?”

In response, Agent Sheehy testified unequivocally: “The guidelines prohibit that practice.”

(Sheehy 5/7/14 Tr. at 16.) As stated in MTD No. 1 at 14 n.11 this case does not involve the use

of “overfill,” because the drug manufacturer’s labeling with each purchased vial of Lucentis




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stated that the vials contained 0.2 mL of product, or 400% of the recommended standard dose of

0.05 mL.15

       Mr. Koski proceeded with the following line of questioning:

       Q:      Agent Sheehy, are you also aware of whether Medicare has any
               reimbursement policy related to Lucentis, meaning, let me be more
               specific, if an ophthalmologist spends money to purchase a single vial of
               Lucentis, how much money is that ophthalmologist entitled to receive
               from Medicare based on that expense?

       A:      The ophthalmologist is entirely reimbursed for his expense.       And in
               addition, a percentage above that is included. . . .

       Q:      And so if an ophthalmologist ignores the FDA and CDC guidelines and
               harvests the overfill of Lucentis to treat multiple patients, is that
               ophthalmologist – under the Medicare regulations, is that ophthalmologist
               entitled to be reimbursed for the additional costs of a vial of Lucentis?

       A:      Well, no. . . .

(Sheehy 5/7/14 Tr. at 16-17.) Agent Sheehy misstated the law in each one of his answers, as

evidenced by the government’s own investigation records, FDA and CMS guidelines, and

established case law.16

       First, FDA guidelines contradict Agent Sheehy’s testimony that “[t]he guidelines prohibit

that practice” of using overfill to treat multiple patients. As noted above (and in MTD No. 1 at



15
        See Genentech, Inc., Lucentis - Highlights of Prescribing Information § 16 (June 2010)
(“Each LUCENTIS carton, NDC 50242-080-01, contains a 0.2 mL fill of 10 mg/mL ranibizumab
in           a            2-cc          glass           vial”),           http://www.genentech-
access.com/sites/default/files/LUCENTIS_prescribing.pdf; see also Genentech, Inc., Lucentis -
Highlights     of     Prescribing     Information     §      16     (June      2006)    (same),
http://dailymed.nlm.nih.gov/dailymed/archives/fdaDrugInfo.cfm?archiveid=6235.
16
       Additionally, Agent Sheehy simply misrepresented the CDC guidelines. They apply to
reusing single-use syringes (i.e., “needle-sharing”), which was never something that Dr. Melgen
ever did, nor was it ever the topic of any discussion, as Dr. Melgen has openly and publicly
stated his position on repackaging or multi-dosing Lucentis and Avastin. Simply put, Dr.
Melgen has never re-used the same syringe twice, and this was never part of the administrative
record before CMS because it never occurred.


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14 n.11), this case does not actually concern “overfill.” In any event, the government’s own

reports of interviews state matter-of-factly that in an interview with Camille Fall Blake in the

Office of General Counsel at HHS, Ms. Blake stated “that she believed the FDA had been

contacted regarding the potential issue of medical harm caused by reusing [sic] a single vial but

that it was her understanding that the FDA will not support that claim.” (HHS OIG 3/15/13 Rep.

at 3.) Indeed, in draft guidance issued by the FDA in February 2015, FDA states that physicians

can multi-dose from single-use vials of Avastin and other ophthalmic drugs, even if the

instructions state that the vial is “single-use” or that the physician must “discard” unused

portions of the vial. See FDA, Draft Guidance Mixing, Diluting, Or Repackaging Biological

Products Outside The Scope Of An Approved Biologics License Application Guidance For

Industry (“FDA Draft Guidance”), 2015 WL 1735391, at *8 & n.15 (Feb. 2015). The FDA

acknowledges that manufacturers’ instructions for ophthalmic drugs, such as “single dose or

single use product, and related language,” do not preclude repackaging or multi-dosing. Id. at

*8. Drugs such as Avastin and Lucentis that are “packaged in a single dose vial” may be

“repackaged into multiple single dose syringes despite the fact that the label of the approved

product states, ‘Single-use vial . . . Discard unused portion.’” Id. at *8 n.15 (discussing Avastin).

This information could have been summarized for the grand jury, but was not disclosed.

       Second, in contrast to Agent Sheehy’s erroneous testimony that multi-dosing is

prohibited, CMS expressly permits and encourages the practice of multi-dosing for certain drugs,

and its stated policy is to pay providers for this practice. Once again, the government’s own

interviews with Ms. Blake and Tamara Forys of the HHS Office of Inspector General rebut

Agent Sheehy’s statement of the law. According to the reports of their interviews, Ms. Blake

and Ms. Forys clearly stated that prior to January 1, 2011, the precise period involving Dr.




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Melgen’s administrative appeal, “CMS approve[d] payment to providers for claims in which

they billed for administering overfill to patients.” (HHS OIG 3/15/13 Rep. at 3.) The report

goes on to say “Ms. Blake said she spoke with John Warren (CMS/CMM) . . . and he stated that

he did not recall a the [sic] conversation . . . in which he stated that CMS’s position was that a

physician should not bill for a cost in which they did not occur.” (Id.) Indeed, when CMS

published “Frequently Asked Questions” (FAQ) in March 2011, it posed the question “Will

Medicare Part B pay for a drug from a single dose vial if it is administered to more than one

beneficiary?”   CMS’s response acknowledged that the decision to multi-dose is a medical

decision, and that it has no authority to regulate the practice of medicine. See id. (emphasis

added). If CMS had concerns about physicians submitting Medicare claims for administered

multi-dosed medicine from single-use vials, this was an obvious opportunity to say so. Instead,

CMS’s FAQ simply refers physicians to its policy on discarded drugs, which encourages

physicians to administer drugs efficiently and recognizes multi-dosing as a legitimate practice.

Id.; CMS, Medicare Claims Processing Manual (Pub. No. 100-04), Ch. 17, § 40,

http://www.cms.gov/Regulations-and-Guidance/Guidance/Manuals/Downloads/clm104c17.pdf.

       Furthermore, the Medicare Program Integrity Manual (“MPIM”) (Pub. No. 100-08)

authorizes regional Medicare contractors to issue Local Coverage Determinations (“LCDs”)

governing when items and services are “reasonable and necessary” and thus payable by

Medicare. 42 U.S.C. § 1395y(l)(5). In July 2009, the regional contractor in Dr. Melgen’s area,

First Coast Service Options Inc., issued a document clarifying its drug coverage policy

conceding that the original Lucentis LCD was not clear and acknowledging that Medicare would

pay for every dose of multi-dosed Lucentis that a physician “chooses” to administer. Local




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Coverage Article for J2778: Ranibizumab (Lucentis®) article clarification (A49317) at 2

(emphasis added). None of this information was presented by the prosecutors to the grand jury.

       Finally, the law on Medicare payment for Lucentis was well known to the government,

and intentionally mischaracterized by Agent Sheehy to inflame the grand jurors.. Agent Sheehy

testified that (1) an ophthalmologist would be “entirely reimbursed” for a vial of Lucentis and “a

percentage above that is included” and (2) that ophthalmologists are not entitled to be reimbursed

by Medicare for the practice of multi-dosing. (Sheehy 5/7/14 Tr. at 17.) All affirmative sources

of legal authority plainly contradict Agent Sheehy’s testimony and the prosecutors presentation.

       The law on how drugs are billed to Medicare Part B is provided in 42 U.S.C. §§

1395k(a)(1) and 1395y(a)(1)(A). As part of the Social Security Act (“SSA”), drugs administered

by physicians to Medicare patients that are “reasonable and necessary” for the treatment of

disease or defect are paid incident to a physician’s professional service. Id. § 1395x(s)(2)(A).

CMS must pay for physician-administered drugs based on the lower of (1) a physician’s actual

billed charge,17 or (2) 106% of the Average Sales Price (“ASP”) of the drug.            42 U.S.C.

§ 1395w-3a; 42 C.F.R. § 414.904(a). At all times relevant to this case, Dr. Melgen billed for

each unit of Lucentis he administered at 106% of the ASP.

       Pharmaceutical manufacturers report a drug’s “ASP” based on the price derived from

nationwide sales, divided by the total number of “units” of such drug. 42 U.S.C. § 1395w-

3a(c)(1). The ASP is updated quarterly, based upon the manufacturer’s aggregate data. Id. §



17
        While not defined in the statute, “actual billed charge” has been interpreted by CMS to
mean the amount “a doctor or supplier charges for a certain medical service or supply.” CMS,
Glossary,                                     “Actual                                     Charge”,
http://www.cms.gov/apps/glossary/default.asp?Letter=A&Language=English.                        This
interpretation does not refer to or include any reference to the “cost” or “expense” of acquiring a
drug. See id.


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1395w-3a(c)(5)(B). Therefore, Medicare’s payment is based solely on the number of “dosage

unit[s]” of a drug administered to treat a patient. Id. § 1395w-3a(b)(1); 42 C.F.R. § 414.904(a).

The statutory price is paid per unit administered, and CMS has no authority to change that price.

In Hays, the D.C. Circuit confirmed that CMS has no discretion to deviate from this payment

framework when paying for drugs under Medicare.          Hays held that Medicare payments to

physicians for drugs must be calculated in the manner dictated by Congress. Id. at 1283. Under

that framework, the Secretary can “make only a binary choice: either an item or service is

reasonable and necessary, in which case it may be covered at the statutory rate, or it is

unreasonable or unnecessary, in which case it may not be covered at all.” Id. at 1283 (emphasis

added). Therefore, CMS is bound by the statutory per-unit payment framework. Id. at 1283. It

is undisputed that Dr. Melgen only billed for what the patients actually received; typically, a

standard dose of Lucentis was five units, and he was paid per five-unit dose, consistent with the

ASP statutory framework. But despite the clear statutory language and case law supporting that

language, the prosecutors and Agent Sheehy intentionally and repeatedly presented the grand

jury with an inaccurate summary of the law.18


18
       Q: So it looks like in this argument Dr. Melgen and his team are conflating or confusing
          a vial with a dose, correct?

       A: Well, I don’t know if they’re confused, but they’re equating a vial with a dose, yes.
          The cost of a vial with the cost of a dose.

       Q: And this is the argument that Dr. Melgen and his team had been making all along the
          way through the ZPIC to the MAC to the Administrative Law Judge, the ALJ, to the
          other MAC, the Medicare Pills [sic] Counsel [sic], in which he lost at every step of
          the way, correct?

       A: Correct.

(Sheehy 5/7/14 Tr. at 35.)



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       The government could have called witnesses from HHS, or presented the actual CDC or

FDA guidance, or summarized the statutes, or summarized the case law. Instead the prosecution

elected to instruct the grand jury with false testimony from its lead FBI case agent. Such false

testimony was plainly used as an attempt to convince the grand jurors that Dr. Melgen was

legally incorrect and that there was no confusion or policy issue.

VI.    THE PROSECUTION IMPROPERLY COMMENTED ON THE EVIDENCE

       The prosecution also did not heed the admonition that “a prosecutor may not make

statements or argue in a manner calculated to inflame the grand jury unfairly against an

accused.” Hogan, 712 F.2d at 759 (2d Cir. 1983) (citing Serubo, 604 F.2d at 1818). At times the

prosecutors were unable to contain their desire to give inflammatory speeches to the grand jury.

After eliciting testimony from Agent Sheehy about Dr. Melgen failing to prevail in his

administrative appeal, Mr. Koski practiced his “one champion” speech – once again testifying

like a ventriloquist through his case agent:

       Q. So on the merits here, although Dr. Melgen has had many bites at the apple, he has
       lost every step of the way, correct?

       A. Correct.

       Q. But throughout his efforts, he has had one champion, correct?

       A. Yes.

       Q. Who has that champion been?

       A. Senator Robert Menendez.

       Q. The same Robert Menendez who got to fly on Dr. Melgen’s private jet, stay at his villa
       in the Dominican Republic, use his AmEx points for the hotel in Paris, got $40,000 to his
       legal defense fund, same Senator Menendez, correct?

       A. Same senator, yes.




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(Sheehy 5/7/14 Tr. at 24-25.) This “exchange” was not really an “exchange” of questions and

answers; it was not testimony at all – it was a closing argument, not appropriate for fact-finding

by a supposedly independent grand jury. Not only was this “testimony” inflammatory, certainly

the legal team that actually had championed Dr. Melgen’s cause all these years (among others)

would take issue with the accuracy of Mr. Koski’s claim that Senator Menendez had been his

“one champion.”

       This sort of prosecutorial behavior is similar to Samango, a case in which the Ninth

Circuit affirmed the dismissal of an indictment because the grand jury heard “much testimony by

the prosecutor in the form of questions which . . . definitely conveyed the prosecutor’s belief that

[the accused] was guilty.” 607 F.2d at 883. Mr. Koski similarly conveyed his personal belief in

Defendants’ guilt in this case. This case is also similar to Breslin, where the court dismissed the

indictment after finding “the prosecutor improperly characterized the evidence and inserted his

opinions regarding the strength and weight of the evidence.” 916 F. Supp. at 443.

       Beyond these sorts of remarks, the presentation to the jury was not focused on

substantive crimes, but on presenting facts that would inflame the jury. For a case about

purported political corruption, where the prosecution claims witnesses would include at least

four U.S. Senators, a Cabinet Secretary, and scores of Executive Branch officials from numerous

agencies, it is surprising that none were called before the grand jury. It is telling where the

prosecution instead chose to focus its attention.      The intended prejudice is obvious.       The

prosecution called every woman it could find who could provide irrelevant and prejudicial

testimony concerning their alleged relationships with Dr. Melgen. (See, e.g., Sheehy Tr. of

2/26/14; 4/9/14 & 4/30/14 (reading back the testimony of various female acquaintances.). The

grand jury also had to hear immaterial and prejudicial testimony from numerous pilots about




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supposedly luxurious private planes (Sheehy Tr. of 2/26/14 at 37 (read-back of Butt testimony)),

and from numerous guests who visited the Melgens in Casa de Campo about how supposedly

luxurious their home was.19        Yet for all the time the prosecution had to bring in alleged


19
       Every witness who had been to Casa de Campo was questioned extensively about how
luxurious it was. Here is one such exchange between Ms. Abrishami and Agent Sheehy:
       Q. Is Casa de Campo a luxury golf and sporting resort located in La Romana?
       A. Yes.
       Q. And La Romana is on the Caribbean coast of the Dominican Republic?
       A. Correct.
       Q. Does Casa de Campo have a marina?
       A. Yes, it does.
       Q. Three golf courses?
       A. Yes.
       Q. With 90 holes of golf?
       A. Correct.
       Q. Thirteen tennis courts?
       A. Yes.
       Q. Three polo playing fields?
       A. Yes.
       Q. Equestrian facilities?
       A. Yes, it does.
       Q. A 24-acre shooting facility?
       A. Yes.
       Q. A spa?
       A. Yes.
       Q. Beaches?
       A. Yes.
       Q. Restaurants?
       A. Yes.
       Q. And a hotel?



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girlfriends, friends or relatives of alleged girlfriends, pilots and others to testify about things not

particularly relevant or in dispute, the government could not find the time or space to call a

single Executive Branch witness to a case alleging improper influence on those Executive

Branch officials.

       Anyone concerned with issues of fairness and justice would know that it is more

important for a grand jury to hear from witnesses to purported acts of corruption to determine

whether there in fact was corruption than for the grand jury to sit through extensive testimony to

learn that Senator Menendez’s close friend, Dr. Melgen, was wealthy and lived very

comfortably. On the issues that mattered, the actual statements of the real Executive Branch

witnesses did not support the prosecution’s preferred version of what happened, so the grand jury

was not allowed to hear from them. The conclusion is inescapable that the prosecution presented

so much irrelevant testimony in their place because they either intended to inflame the grand jury

and prejudice the jurors against the Defendants, or they were indifferent about inflaming and

prejudicing the grand jury Alone and, especially when viewed cumulatively, these actions

requires dismissal.




       A. It does.
       Q. I'm going to show you now what’s been marked -- oh, apologies. It was a 245-acre
       shooting facility. Correct?
       A. Yes, that’s correct.
       Q. Not a 24-acre? I'm sorry. We got --
       A. My mistake.
       Q. So, a 245-acre shooting facility?
A. Yes.

(Sheehy 3/11/15 Tr. at 6-7.)



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                                      CONCLUSION

       This case demonstrates how the prosecutor’s manipulation of the grand jury eviscerated

the purpose it was intended to serve: protection from unwarranted prosecutions. Accordingly,

this case must be dismissed.

                                   Respectfully submitted,

/s/ Abbe David Lowell                                /s/ Kirk Ogrosky
Abbe David Lowell                                    Kirk Ogrosky
Jenny R. Kramer                                      Murad Hussain
Christopher D. Man                                   ARNOLD & PORTER LLP
Scott W. Coyle                                       555 12th Street, N.W.
CHADBOURNE & PARKE LLP                               Washington, DC 20004
1200 New Hampshire Avenue, N.W.                      Kirk.Ogrosky@aporter.com
Washington, D.C. 20036                               (202) 942-5330
adlowell@chadbourne.com
(202) 974-5600


Raymond M. Brown                                     Matthew I. Menchel
GREENBAUM ROWE SMITH & DAVIS LLP                     Michael C. Fasano
Metro Corporate Campus One                           KOBRE & KIM LLP
P.O. Box 5600                                        2 South Biscayne Boulevard, 35th Floor
Woodbridge, NJ 07095                                 Miami, FL 33131
rbrown@greenbaumlaw.com                              matthew.menchel@kobrekim.com
(732) 476-3280                                       (305) 967-6108

Stephen M. Ryan
Thomas J. Tynan
MCDERMOTT WILL & EMERY LLP
500 North Capitol Street, N.W.
Washington, D.C. 20001
sryan@mwe.com
(202) 756-8000

Counsel for Defendant                               Counsel for Defendant
Senator Robert Menendez                             Dr. Salomon Melgen




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